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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AMERICA,

       Plaintiff,

v.

GUILLERMO ORDUNO,

       Defendant.                                    Case No. 06-cr-30166-11-DRH



                                        ORDER


HERNDON, Chief Judge:



             Pending before the Court is defendant Orduno’s Motion to Exceed the

Statutory Limit of $1,600.00 for Interpreter Services (Doc. 199). Due to defendant

Orduno’s inability to comprehend the English language, interpreter services have

been    necessary     for   attorney-client   communications,    interviews,    written

correspondence, and to translate discovery and for Court appearances. For the

reasons pled and upon approval of Chief Judge Easterbrook, said Motion (Doc. 199)

is GRANTED. The Court hereby ORDERS that defendant Orduno is authorized to

exceed the $1,600.00 statutory limit for interpreter services, provided by Mr.

Fernando Torres.      Specifically, defendant Orduno is authorized to expend the



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amount of $2,427.20, as stated in the billing estimate for services to be rendered by

Mr. Torres, attached as Exhibit 1 to the instant Motion.

             IT IS SO ORDERED.
             Signed this 9th day of October, 2007.


                                             /s/    DavidRHerndon
                                             Chief Judge
                                             United States District Court




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